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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                 LEWIS T. BABCOCK, JUDGE


Civil Case No. 18-cv-02893-LTB

HARMONY BISHOP,

                  Plaintiff,

v.

CAPITAL ONE BANK (USA), N.A.,

           Defendant.
______________________________________________________________________

                                ORDER
______________________________________________________________________


       THIS MATTER having come before the Court on the Stipulation of Dismissal With

Prejudice (Doc 8 - filed March 20, 2019), and the Court being fully advised in the premises,

it is therefore

       ORDERED that this matter shall be DISMISSED WITH PREJUDICE, each party to

pay their own fees and costs.


                                                 BY THE COURT:


                                                   s/Lewis T. Babcock
                                                 Lewis T. Babcock, Judge

DATED: March 21, 2019
